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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

KATHLEEN TAYLOR,                                   )
                                                   )       Civil Action No. 17-cv-05704
                 Plaintiff,                        )
                                                   )       Hon. Judge John J. Tharp
                 v.                                )
                                                   )       Magistrate Judge Young B. Kim
CLIENT SERVICES, INC.,                             )
                                                   )
                 Defendant.                        )


                              RESPONSE TO RULE TO SHOW CAUSE

        Attorneys Celetha Chatman, and Michael Wood of Community Lawyers Group, Ltd., state

the following in response to the Rule to Show Cause issued on September 12, 2018:

                                            INTRODUCTION

        This Court has ordered the undersigned attorneys – Michael J. Wood, Celetha Chatman,

and Sarah Barnes – to show cause as to why they should not be sanctioned for “a deliberate failure

to disclose adverse controlling authority to this Court.” This Court has identified the controlling

authority in question as the Seventh Circuit decision in Evory v. RJM Acquisitions Funding L.L.C.,

505 F.3d 769 (7th Cir. 2007), which forms the primary, if not sole, basis for this Court’s dismissal

of the plaintiff, Kathleen Taylor’s claims against creditor, Client Services, Inc.

        By this brief, attorneys Wood and Chatman ask this Court to conclude that the failure to

apprise this Court of the Evory opinion was not of the deliberate nature that may subject an attorney

to discipline under Rule 3.3(a)(2) of the ABA Model Rules of Professional Conduct (“MRPC

3.3(a)(2)”)1 and the identical Rule 3.3(a)(2) of the Illinois Rules of Professional Conduct of 2010



1
 As noted by this Court in the Memorandum Opinion and Order of September 12, 2018 [Docket No. 76], per Local
Rule 83.50, this District incorporates as its own disciplinary rules the ABA Model Rules and Illinois Rules of

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(“ILRPC 3.3(a)(2)”). Although attorneys Wood and Chatman were made aware of the Evory

decision after briefing of the motion to dismiss filed by the defendant herein had been fully

completed, the undersigned attorneys did not recognize at that time that Evory addressed issues

relative to the instant litigation. Had this omission occurred to attorney Wood or attorney Chatman

at the time, the undersigned would have provided this Court with any appropriate disclosure

thereof.

        Moreover, because attorneys Wood, Chatman and Barnes acted with no deliberate intent,

they should not be subjected to sanctions pursuant to Rule 11 of the Federal Rules of Civil

Procedure (FRCP 11) or 28 U.S.C. § 1927 (“Section 1927”).

        Before addressing the reasons for which attorneys Wood and Chatman did not knowingly

fail to disclose the Evory opinion to this Court prior to this Court’s ruling on the creditor

defendant’s motion to dismiss, the undersigned attorneys wish to make clear that, although their

former colleague, attorney Sarah Barnes, filed an appearance in the captioned litigation on behalf

of the plaintiff, she was neither responsible for nor involved in the research, drafting, or review of

the plaintiffs’ response briefs to the motions to dismiss filed in the instant litigation and in Bass v.

Portfolio Recovery Assocs., No. 17-cv-08345 (N.D. Ill). She was not asked to nor did she review

the plaintiffs’ respective motions to dismiss or reply briefs in either matter. Nor was there any

expectation by the undersigned authors of this brief that Ms. Barnes would exercise any degree of

professional judgment in connection with the motions to dismiss filed in this matter or in Bass.

        Simply put, attorney Barnes was a subordinate lawyer acting at the direction of her

supervisor, attorney Wood, and had no reason to have become aware of Evory via the Bass

litigation.


Professional Conduct under circumstances such as those presented here. Attorneys Wood, Chatman and Barnes do
not disagree that the aforementioned rules are applicable to their conduct.

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       Attorneys Wood and Chatman also take their legal and ethical responsibilities seriously

and recognize the critical role that these responsibilities play in our justice system. The

undersigned attorneys have no interest in interposing frivolous legal arguments and they have no

desire to pursue meritless litigation. As discussed below, had attorneys Wood and Chatman been

aware of the Evory decision and had they appreciated its bearing on the instant litigation, they

would have apprised this Court of the opinion. They should not be sanctioned for what could be

characterized as, at its worst, an oversight.

                                   FACTUAL BACKGROUND

       On August 4, 2017, the undersigned attorneys – attorneys Wood and Chatman – filed a

complaint on Plaintiff’s behalf in this case. (Dkt. #1.) The basis of the claim was allegedly

deceptive language that a settlement offer would expire on a date certain, and be deemed null and

void at that time, with no obligation for the offer to be made at a future date. Such language had

been used in repeated collection letters, after which the offer was remade. Attorneys Wood and

Chatman alleged, on Plaintiff’s behalf, that Client Services made false threats and did so

knowingly.

       On September 21, 2018, Defendant filed a motion to dismiss on the basis that settlement

offers with expiration dates had been held by several district courts not be neither deceptive nor in

violation of the FDCPA. (Dkt. #10.) Defendant did not cite to the Evory opinion in its motion to

dismiss or the memorandum in support thereof. (Dkt. #10, 11.) Not only did Defendant not cite to

the Evory opinion, Defendant did not even based its argument for dismissal on inclusion of the

“safe harbor” language created by the Evory opinion.

       Attorneys Wood and Chatman were responsible for researching, preparing and drafting a

response to Defendant’s motion. As is their practice, attorneys Wood and Chatman pulled every


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case cited by Defendant in its motion to dismiss. In their response brief filed on Plaintiff’s behalf

on November 9, 2017, they addressed every case cited by Defendant. They argued that the

collection letter at issue in the instant matter went far beyond those in the cases cited by Defendant

because Defendant's letter contained more than just an expiration date; it included an explicit (and

allegedly false) statement that the offer would be withdrawn and deemed null and void as of a date

certain. (Dkt. #20.) Further, Plaintiff found cases that supported her position, albeit pre-Evory.

Attorneys Wood and Chatman did not learn of the Evory opinion before filing the response brief.

       On November 30, 2017, Defendant filed a reply brief in support of its motion to dismiss.

(Dkt # 21.) Defendant did not cite to Evory in its reply brief. At that time, Attorneys Wood and

Chatman were still unaware of the Evory opinion.

       About two weeks before Defendant herein filed its reply brief in support of its motion to

dismiss, on November 17, 2017, the undersigned attorneys had filed a complaint on behalf of

Henry Bass in the matter of Bass v. Portfolio Recovery Associates, LLC, Case No. 17-cv-08345

(N.D. IL). As this court has noted, the complaint in Bass was founded upon similar circumstances

as was the complaint in the instant litigation. In Bass, the undersigned attorneys complained on

Plaintiff’s behalf of a settlement offer with an expiration date that was allegedly false; however,

in Bass the matter did not involved any threat to withdraw the offer or to deem it null and void as

of the alleged expiration date as was the case in this matter. As noted above, as of the filing of the

Bass lawsuit, none of the undersigned attorneys was aware of the Evory decision.

       On January 10, 2018, the defendant in the Bass litigation, Portfolio Recovery Associates

(PRA) filed a Motion to Dismiss, where it did cite Evory, stating:

       Here, the initial letter contains the exact safe harbor language articulated by the
       Seventh Circuit in Evory. There is nothing else in the initial letter that would lead
       Plaintiff to believe that the offer stated was a final offer or a one-time offer.

(Bass, Dkt. #13 p.4.)
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       Attorneys Wood and Chatman filed a response to PRA's motion on March 5, 2017,

including a brief discussion of the Evory opinion and its bearing upon the issues raised in that

matter. (Bass, Dkt. #13 p.4.) In the response, Attorneys Wood and Chatman did not address what

effect, if any, on the court's analysis in Evory additional alleged threats of withdrawing the offer

or deeming it null and void as of a date certain would have because PRA made no such threats in

the letter that formed the basis for the Bass case; rather, PRA included only an expiration date in

the letter. (Bass, Dkt. #13.) After PRA filed a reply brief in support of its motion, the Bass court

granted PRA’s motion and dismissed the Bass litigation on August 22, 2018. (Bass, Dkt. #29.) The

Bass court denied PRA’s request for the assessment of attorney’s fees and costs, concluding that

the Evory decision provided a safe harbor for claims under § 1692e but did not explicitly create a

safe harbor for claims under 1692f and “accordingly, the Court [found] that the conduct by Bass’s

counsel [did] not reach the level of being unreasonable and vexatious [under 28 U.S.C. § 1927]

and decline[d] to award attorneys fees and costs.” (Bass, Dkt. #29, p.9.)

       Attorney Barnes was not asked to review the motion to dismiss in Bass. Even after the

motion to dismiss was served upon Plaintiff’s counsel, the undersigned attorneys understand that

she remained unaware of the Evory decision. Attorneys Wood and Chatman were responsible for

reviewing and responding to the motion to dismiss. As such, attorneys Wood and Chatman first

became aware of the Evory opinion at some point shortly after January 10, 2018.

       Although attorneys Wood and Chatman learned of the Evory decision and were made

aware of the “safe harbor” that it created in mid-January 2018, they never considered how the

Evory decision might impact this court’s assessment of the issues presented in the instant litigation,

including those relative to Defendant’s motion to dismiss. In late November 2017, Attorneys Wood

and Chatman had put their file relative to the instant matter to the side once briefing had concluded


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relative to Defendant’s motion to dismiss. After learning of the Evory decision over two months

later, attorneys Wood and Chatman simply never appreciated that the Evory decision had a bearing

on another matter that they had filed on behalf of another client. Attorneys Wood and Chatman

did not return their attention to the instant litigation until the next order was issued in the matter

on September 12, 2018, when this Court delivered its Memorandum Opinion and Order in the

instant matter.2

                                       RESPONDENTS’ POSITION

         As noted above, attorney Barnes did not review the motion to dismiss in Bass in which the

Evory decision was cited, did not play any role in briefing the motions to dismiss in the instant

case or in Bass, and had no responsibility for the handling of either matter. Under the applicable

rules, attorney Barnes should bear no potential ethical or legal responsibility for the fact that the

undersigned attorneys did not apprise this court of the Evory decision before this court ruled upon

the Defendant’s motion to dismiss.

         Although attorneys Wood and Chatman did learn of the Evory decision in January 2017,

they should also bear no ethical or legal responsibility in connection with the Evory decision as

they did not knowingly fail or refuse to provide this court with the citation thereto.

         Attorneys Wood and Chatman regret not finding the Evory case and not bringing it to this

Court's attention when it later did learn of the case. Plaintiff's counsel regrets the omission for two

reasons. First, because of their duty to raise adverse and relevant authority to the Court; and second,

for not having taken the opportunity to address the case. Comparing the subject collection letters

in the cases, Evory considered a mere expiration date on a settlement offer and held that it was not



2
 Plaintiff's prior counsel Sarah Barnes did file a motion to withdraw from the case after leaving the firm [Dkt. #22]
but attorneys Wood and Chatman did not review the file at that time or notice their omission of Evory from the
prior briefing.

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misleading to include an expiration date even where the collector was going to reissue the offer.

However, the letter in Taylor contained more than an expiration date, including an allegedly false

threat to withdraw the offer and to deem it null and void. Attorneys Wood and Chatman

respectfully submit that the threats present in the Taylor letter take it far beyond the letters at issue

in Evory and Bass.

        As discussed above, although attorneys Wood and Chatman acknowledge that they learned

of the Evory decision long before this Court ruled on Defendant’s motion to dismiss, they did not

knowingly fail to submit the decision to this Court. Under the applicable rules, sanctions could be

assessed against attorneys Wood and/or Chatman only if they knowingly failed to disclose the

Evory decision to this Court, if they made a frivolous argument, or if they acted unreasonably and

vexatiously. MRPC 3.3(a)(2); ILRPC 3.3(a)(2); Fed. R. Civ. P. 11(b)(2); 28 U.S.C.A. § 1927.

They did none of these things here.

        MRPC 3.3(a)(2) and ILRPC 3.3(a)(2) are identical to one another and provide the

following:

        A lawyer shall not knowingly fail to disclose to the tribunal legal authority in the
        controlling jurisdiction known to the lawyer to be directly adverse to the position
        of the client and not disclosed by opposing counsel.

Model Rules of Prof'l Conduct R. 3.3(a)(2); IL Rules of Prof'l Conduct R. 3.3(a)(2).

        FRCP 11(b)(2)3 provides that:

        By presenting to the court a pleading, written motion, or other paper--whether by
        signing, filing, submitting, or later advocating it--an attorney or unrepresented party
        certifies that to the best of the person's knowledge, information, and belief, formed
        after an inquiry reasonable under the circumstances[,] the claims, defenses, and
        other legal contentions are warranted by existing law or by a nonfrivolous argument
        for extending, modifying, or reversing existing law or for establishing new law.


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 In Footnote 4 of its Memorandum Opinion and Order of September 12, 2018, this Court referenced FRCP
11(b)(3), which concerns evidentiary support for factual contentions. It appears that the reference was meant to
be to subsection (b)(2) of FRCP 11, which relates to legal support for a claim or defense.

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Fed. R. Civ. P. 11(b)(2).

       Section 1927 provides:

       Any attorney or other person admitted to conduct cases in any court of the United
       States or any Territory thereof who so multiplies the proceedings in any case
       unreasonably and vexatiously may be required by the court to satisfy personally the
       excess costs, expenses, and attorneys' fees reasonably incurred because of such
       conduct.

       28 U.S.C.A. § 1927 (West).

       The Seventh Circuit has rarely been presented with cases that directly or even indirectly

involve the imposition of sanctions pursuant to ILRPC 3.3(a)(2) or MRPC 3.3(a)(2). Those cases

that do address sanctions under ILRPC 3.3(a)(2) or MRPC 3.3(a)(2) make clear that the key inquiry

in determining whether sanctions are appropriate is the question whether the attorney actually knew

of the arguably-controlling authority when taking action to advance a claim and yet failed or

refused to acknowledge the authority.

       In Foreman v. Wadsworth, the Seventh Circuit upheld a district court’s decision to impose

sanctions – although acknowledging that it would not have itself taken the same action – where a

plaintiff’s attorney had been previously made aware of authority that rendered the defendant

immune from potential liability yet filed suit anyway and made no effort to advance an argument

that the controlling authority was distinguishable or should be overruled. Foreman v. Wadsworth,

844 F.3d 620, 623, 627 (7th Cir. 2016). In that case, Anthony Foreman, a restaurant owner, brought

a lawsuit pursuant to 42 U.S.C § 1983 and Illinois tort law wherein he alleged that a state

prosecutor and four Rockford police officers conspired to put him out of business by bringing false

criminal charges against him. Id. at 622. Contrary to settled Supreme Court precedent, the

plaintiff’s attorney argued the prosecutor should not be entitled to absolute immunity for actions

taken in his official capacity. Id. Significantly, the plaintiff’s attorney admitted that he recognized

that a Supreme Court decision – Imbler v. Pachtman – was directly on point. Id.
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       The district court ordered the plaintiff to show cause as to why his claims against the

prosecutor should not be dismissed given the absolute immunity protections afforded him by

Imbler v. Pachtman as well as the Eleventh Amendment. Id. Additionally, because in a previous

case Foreman’s attorney had raised similar claims against prosecutors that were dismissed for the

same reasons, the court ordered the attorney to show cause why he should not be sanctioned under

Federal Rule of Civil Procedure 11(c). Id. Shortly thereafter, the prosecutor moved for judgment

on the pleadings arguing that the Eleventh Amendment bars Foreman’s suit. Id. In response,

Foreman’s attorney conceded that the current law would bar a claim for damages against the

prosecutor in his individual capacity, but asserted that he was seeking to change the law. Id.

       The district court granted the prosecutor’s motion for judgment on the pleadings. After

Foreman’s claims were dismissed, a magistrate judge recommended that Foreman’s attorney be

publicly censured under Rule 11(c) for advancing frivolous claims without offering any argument

or authority that support a change in the law as he so stated in his response. Id. at 623. The attorney

objected to the magistrate judge’s recommendation and explained that he had not presented his

argument for overturning Imbler because doing so would have been futile as the same district judge

rejected his same argument in an earlier case. Id. The attorney attached to his written objection a

portion of the brief that he had previously filed, wherein he presented the argument for overturning

Imbler. Id.

       Nevertheless, the district court adopted the magistrate judge’s recommendation and

sanctioned the attorney, noting that the attorney “did not argue for a change in the law until after

he was faced with a recommendation of censure” and that the court was “‘not persuaded by

counsel’s last-minute effort to salvage the unsupported claims.’” Id. The attorney appealed the




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district court’s decision (which included an entry of summary judgment in favor of the police

officers). Id. at 624.

        The Seventh Circuit determined that the district court’s initial order for rule to show cause

was premature. Id. at 625. While the attorney has a duty of candor to the court, which includes a

duty to disclose controlling legal precedent adverse to his position pursuant to Model Rules of

Professional Conduct 3.3(a)(2), he is not required to “anticipate and respond to” affirmative

defenses within the complaint itself. Id.

        However, the district court’s order for a rule to show cause put the attorney on notice of

the need to present an argument for overturning Imbler. Only after the magistrate judge

recommended sanctions did the attorney make such an argument. Id. It is of no consequence, the

court reasoned, that the attorney believed presenting the argument would prove futile, as he was

still required to present to the district court his argument regarding changing the law rather than

raising it for the first time on appeal. Id. Because Rule 11 sanctions are soundly within the district

court’s discretion, the district court did not err or abuse its discretion when it imposed sanctions

against this attorney. Id.

        Although the Seventh Circuit upheld the imposition of sanctions in Foreman, the court’s

opinion is instructive as it demonstrates that it was the attorney’s actual knowledge of the

controlling precedent when he filed suit combined with his subsequent failure to take action to

address the controlling precedent that subjected the attorney to sanctions. Unlike the plaintiff’s

attorney in Foreman, attorneys Wood and Chatman were not aware of the Evory decision when

they filed the instant litigation. They were also not aware of the Evory decision when they

affirmatively argued in support of their client’s claims via a response to the Defendant’s motion to




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dismiss. Had they known of the Evory decision and taken affirmative actions contrary to

established precedent, sanctions might be appropriate. But they did not do so.

        Here, attorneys Wood and Chatman took no affirmative actions to prosecute the instant

litigation after they learned of Evory. As discussed above, by the time they learned of the Evory

decision in connection with the litigation of the Bass case, briefing on Defendant’s motion to

dismiss in the instant case had closed. The undersigned attorneys simply did not appreciate that

the Evory opinion might have a bearing on another case that they had filed and for which a motion

to dismiss was fully briefed and awaiting a ruling.

        Had the undersigned attorneys recognized that Evory had a bearing on the instant litigation,

they would have responded appropriately. They would have done so not only because of their

ethical responsibilities, but in an effort to best posture their client’s case before this court. Attorney

Wood, having externed for a federal judge, understands that judges and law clerks do not simply

rely upon the authorities raised by the parties, but perform their own research. Had the undersigned

attorneys appreciated Evory’s application to the facts of the case at bar, they would have alerted

this Court to its existence to avoid this Court discovering and applying Evory in ruling on a motion

to dismiss without themselves having any opportunity to distinguish the Evory opinion.

        Not only are sanctions inappropriate under MRPC 3.3(a)(2) and ILRPC 3.3(a)(2) where

the attorney did not knowingly fail to apprise a court of a known controlling authority, sanctions

are not appropriate under Rule 11 where theory of recovery is not directly contrary to controlling

law. Thompson v. Duke, 940 F.2d 192, 196 (7th Cir. 1991).

        In Thompson v. Duke, the plaintiff’s attorney filed suit against a municipality although a

decision – Baker v. McCollan – arguably foreclosed such allegations under similar circumstances.

Id. at 194. The plaintiff’s attorney failed to cite the McCollan decision in responding to the


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defendant’s motion for summary judgment and the court granted summary judgment in reliance

upon the decision. Id. at 194, 197-98. The district court ultimately assessed sanctions upon the

plaintiff’s attorney under Rule 11, concluding that he had pursued a claim not supported by existing

law. Id. The appellate court disagreed and reversed the imposition of sanctions. Id. at 193.

       Although the procedural scenario presented in Thompson differs from that at bar in that the

defendant in Thompson had cited to the McCollan decision in its dispositive motion where

Defendant herein did not cite to Evory in its motion to dismiss, the appellate court’s assessment of

the plaintiff’s attorney’s actions there is instructive. In Thompson, the court noted that although it

may constitute “poor advocacy,” “[t]he failure to cite relevant authority, whether it be case law or

statutory provisions, does not alone justify the imposition of sanctions.” Id. at 198 (quoting United

States v. Stringfellow, 911 F.2d 225, 226 (9th Cir.1990)). The court pointed out that the plaintiff’s

failure to respond to the defendant’s position relative to McCollan “did not mislead the court.” Id.

       Here, as did the plaintiff’s attorney in Thompson, the undersigned attorneys did not address

a decision that the court has since concluded is dispositive as to Plaintiff’s claims. Unlike the

plaintiff’s attorney in Thompson, the undersigned attorneys did not cite to the arguably-controlling

decision because they were not aware of it when they filed the instant lawsuit and when they

responded to the Defendant’s motion to dismiss. Sanctions were not appropriate in Thompson

because the court concluded that the plaintiff’s attorney acted in good faith, although in a “vague

and inept” manner, when he responded to the motion to dismiss without citing to McCollan. Id. at

198. Here, the undersigned attorneys also acted in good faith, and so should not be subject to

sanctions under Rule 11.

       We would be remiss were we not to mention that the appellate court in Thompson

concluded that had McCollan been a clearly “controlling authority,” the failure to cite to it may


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have justified the imposition of sanctions, however, the plaintiff’s attorney eventually made an

effort to distinguish the McCollan case and did so in good faith. Id. at 198. In this case, the

undersigned attorneys have made no attempt to distinguish Evory, but the mere fact that they have

not attempted to do so does not mean that they cannot do so. Rather, they have not done so for the

reasons discussed throughout this brief – they were simply unaware of Evory’s bearing on the

instant case until receiving this Court’s order dismissing their client’s claims. Had the undersigned

attorneys been aware of Evory, they would have taken the opportunity to articulate how, in their

view, that their client’s claims can be reconciled with Evory.

       The undersigned attorneys regret not finding the Evory case and not bringing it to the

Court's attention when attorneys Wood and Chatman did subsequently learn of the case.

Nonetheless, as discussed above, under the controlling authorities here, the undersigned attorneys

should not be subjected to sanctions for what was, at worst, an oversight.

                                         CONCLUSION

       WHEREFORE, the undersigned attorneys respectfully request that this Court assess no

sanctions against them.

       Respectfully submitted,


   By: /s/Celetha C. Chatman                          /s/ Michael J. Wood
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                                 CERTIFICATE OF SERVICE

         I, Celetha Chatman, an attorney, hereby certify that on October 10, 2018, I electronically
filed the foregoing document using the CM/ECF system, which will send notification of such
filing to all attorneys of record.

 Dated: October 10, 2018                                                     Respectfully submitted,


                                                                       By:      /s/ Celetha Chatman




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